              Case 8:18-bk-08709-RCT         Doc 36     Filed 11/08/19     Page 1 of 3



                                        ORDERED.

         Dated: November 08, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
                                   www.flmb.uscourts.gov


In re:                                                        Case No. 8:18-bk-08709-RCT
                                                              Chapter 7
Sophia D. Amorginos

      Debtor.
_______________________________/

                       ORDER GRANTING TRUSTEE’S MOTION FOR
                         AUTHORITY TO SELL REAL PROPERTY
                      (Property: 31 North Park Avenue, Tarpon Springs, FL 34689)

          THIS CASE came on for consideration, without hearing, on the Chapter 7 Trustee’s Motion

to Sell Real Property of the Estate with Consent of Secured Lenders (“Motion”), pursuant to the

provisions of 11 U.S.C. §363(b), (f) and (m), Doc. No. 31. The Court has reviewed the Motion

and the record and having found no response in opposition to the Motion, finds it is appropriate to

enter an Order.

          The Motion was served upon interested parties with the Local Rule 2002-4 negative

notice legend informing the parties of their opportunity to respond within 21 days of the date of

service. No party filed a response within the time permitted; therefore, the Court considers the

matter to be unopposed. Accordingly, it is




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             Case 8:18-bk-08709-RCT           Doc 36     Filed 11/08/19      Page 2 of 3




        ORDERED:

        1.      The Motion to Sell Real Property is GRANTED.

        2.      The Trustee is authorized to sell the estate’s interest in the real property located at:

                LOT 12, BLOCK D, INNESS PARK, ACCORDING TO THE
                PLAT THEREOF, RCORDED IN PLAT BOOK 13, PAGES 1 AND 2,
                OF THE PUBLIC RECORDS OF PINELLAS COUNTY, FLORIDA.

to the Buyer, Richard Stecher for the purchase price of $150,500.00, and in accordance with

the terms and conditions set forth in the ALTA Settlement Statement, made a part of the Motion.

        3.      The Trustee is authorized to pay costs and expenses of sale as set forth in the

        Settlement Statement.

        4.      Pursuant to Section 363(b) of the Bankruptcy Code, effective upon closing, the sale

of the real property will vest in the Buyer all right, title and interest of the Debtor and the

bankruptcy estate in the real property, free and clear of all liens, claims or interests.

        5.      The Buyer has not assumed any liabilities of the Debtor.

        6.      The Trustee is authorized to execute all documents and instruments reasonable and

necessary to close the sale.

        7.      The Trustee’s sale of the Property is explicitly conditioned on obtaining Secured

Creditor’s written consent to the “Short Sale” at or prior to closing.

        8.      The Trustee, and any escrow agent upon the Trustee’s written instruction, shall be

authorized to make such disbursements on or after the closing of the sale as are required by the

purchase agreement or order of this Court, including, but not limited to: (a) all delinquent real

property taxes and outstanding post-petition real property taxes pro-rated as of the closing; and

(b) other anticipated closing costs of Prorations/Adjustments, Title Charges and Escrow/

Settlement Charges, Government Recording and Transfer Charges, Lender Payoff, Real Estate

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             Case 8:18-bk-08709-RCT         Doc 36     Filed 11/08/19     Page 3 of 3




Brokers Commission of 6%, a carve-out to the Bankruptcy Estate and any other miscellaneous

costs of closing.

       9.      The Buyer is approved as a buyer in good faith in accordance with Section 363(m)

of the Bankruptcy Code and Buyer shall be entitled to all protections of Section 363(m) of the

Bankruptcy Code.

       10.     The Trustee shall close the sale and distribute the funds due to the secured creditor

within ninety (90) days from the date of the entry of this Order.

       11.     The 14-day stay period provided by Rule 6004(h) is waived and this Order shall be

effective and enforceable immediately upon entry.




Trustee Carolyn Chaney is directed to serve a copy of this order on interested parties who do not
receive service by CM/ECF and file a proof of service within three days of entry of this order.




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